AO 245]3 (Rev. 02/18) Judgn'iei:it in a Ci'imi`nal Case
Slieet l

 

 

UNiTED STATES DISTRiCT COURT

Southern District ofNeW York

UNITED STATES OF AMERICA JUDGi\/IENT IN A CRIMINAL CASE

V.
M|CHAEL COHEN Case Nuinber: 18-Cr-602 (WHP)
USM Nunibei': 86067-054

Guy Peti'ii|o, Esq.
Det`endant’s Attorney

 

THE DEFENDANT:
Mpleaded guilty to count(S) 15 21 31 45 51 61 7 & 8

 

m pleaded nolo contendere to count(s)
which Was accepted by the court.

 

[:§ was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Natiire of Offense Offense Ended Count

 

 

 

 

 

 

18 USC 1014 N|aki'ng Faise Statements to a Bank 4/30/2016 6

 

The defendant is sentenced as provided in pages 2 through 8 of this judgment The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
g The defendant has been found not guilty on count(s)

 

E Count(s) l:l is l:l are dismissed on the motion of the United States.

 

_ _ lt is ordered that the defendant _must notify the Un_ited States attorney for this di_str_ict Within 30 da s of _any change ofname, residence,
or mailing address until'all tines, restitution,_costs, and special assessments imposed by this judgment are fu ly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic cii‘cumstanci=:sl

 

 

1 2/12/201 8
Date of lmpositiori of Judgmcrit
`\\i\ § w
m 1 a \:“g aim
"“} W" ''''' §m_ &\“»jw ` C.z m' §§ w
Sigiiature of`.¥udge §

Wifliam H Pau|ey H| U.S. Senior District dodge
Name and Title of}udge

 

12112/2018
Date

 

 

 

AO 245B (Rev. 021£3) Judgment in a Crimiiial Case
Sheet lA

 

 

 

Judgmcnti?age 2 of 8
DEFENDA_NT; MICHAE]_ COHEN
CASE NUMBER: 'lB-CF-@OZ (WHP)

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense 74 ` Offense Ended Count

 

52 usc 30109(d)(1)(A)

 

 

 

 

 

 

 

52 usc 30116(3)(7),

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AO 245B (Rev. 02/18) ludgment in Crimiual Case
Sheet 2 _ imprisonment

 

 

.iudgmentiPage _ 3 of
DEFENDANT: M|CHAEL COHEN

CAsa NUMBER: is~cr»aoz (WHP)

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau ofPrisons to be imprisoned for a total
term of:

36 months incarceration to be served concurrently to the sentence imposed on docket 18-Cr-850 (WHP).

lzl Tlie court makes the following recommendations to the Bii_reau of Piisons:

The Court recommends the defendant be designated to Otisvi|fe.

l:l The defendant is remanded to the custody of the United States Mai'shal.

[:l The defendant shall surrender to the United States Mai'shal for this district

E`:l at |:| a.m. E:I p.m. on

 

l:l as notiHed by the United States Mai'shal.

|J The defendant shall surrender for service of sentence at the institution designated by the Bui'eau ofPrisons:

ij before 2 p.m. on 316/2019

 

|:i as notified by the United States Marshal.

|:| as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
l have executed this judginth as follows:
Defendant delivered on to
at , Witli a certified copy of this judgment
UNITED STATES MARSHA.L
By

 

DEPUTY UNITED STATES MARSHAL

 

AO 245B (Rev. 02{ 18} fudgment in a Criininal Case
Shcet 3 _ Supervised Release

Judgmcnt_-Page 4 of 8

DEFENDANT: |V|iCHAEL COHEN
CASE NUMBER: ’ES-Cr-BOZ (WHP)
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised reiease for a term of :

3 years on each count to be served concurrently to each other and to the term of supervision imposed on docket 18-Cr-850
(WHP).

MAN])ATORY CONDITIONS

1_ You must not commit another federal, state or local crime
2. You must not unlawfully possess a controlled substance

3. You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

|:| The above drug testing condition is suspended, based on the court‘s determination that you
pose a low risk of future substance abuse (check ifappiicabie) ,
4_ |:| You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
I'€Sfl['LlilOl'l. (check I`fapp]icabie)
5 . |:I You must cooperate in the coiiection ofDNA as directed by the probation oft`icer. (check ifapph'cab!e)
l:l You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as

directed by the probation ofticer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense (check iffappli'cable)

7_ l:] You must participate in an approved program for domestic vioience. (check Fappiicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

 

 

AO 245B (Rev. 02/18) Judginent in a Crim.inal Case
Slieet 3A_ Supervised Reiease

 

Judgment_Page 5 of g
DEFENDANT: MiCl-JAEL COHEN
CASE NUMBER: 18-Cr-602 (WHP)

STANDARD CONDITIONS ()F SUPERVISION

As part of your supervised reiease, you must comply with the following standard conditions of supervision These conditions are imposed
because they estabiish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
fi'ame.

2. After initiaiiy reporting to the probation office, you wiii receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfuily the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If' you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least iO days before the change If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change

6. You must allow the probation ofhcer to visit you at any time at your home or elsewhere, and you must permit the probation oiiicer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. if you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least l() days before the changc. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

S. You must not communicate or interact with someone you know is engaged in criminal activity. lf you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. lf you are arrested or questioned by a law enforcement officer, you must notify the probation officer within ?2 houi's.

l(]. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasei's).

l l. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. if the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision

U.S. Probation Office Use Oniy

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overvi`ew ofProbarion and Supervi'sed
Release Condi'tioiis, available at: www.uscourts.gov.

Defendant's Signature Date

 

 

AO 245B(Rev. 02/18} judgment in a Criminai Casc
Sheet 3D _ Superviscd Re§ease

 

 

Judgmentil:'age
DEFENDANT: lVllC|-|AEL COHEN
CASE NUMBER: 18-Cr-602 (VVHP)

SPECIAL CONDITIONS OF SUPERVISION

The defendant shai| provide the probation officer With access to any requested tinanciai information

6

of

 

AO 245B (Rev. 021'18) .iudgrnent in a Criminal Casc
Sheet 5 _ Criminai Monetary i’cnaitics

Judgment _ Page 7 of 8
DEFENDANT: MICHAE|.. COHEN
CASE NUMBER: iB-Cr-BOZ (Wi-|P)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 64

Assessment .IVTA Assessment* Fine Restitution
TOTALS $ BOU.UU $ $ S0,000.00 $ 1,393,858.00
l:l The determination of restitution is deferred until . An Amended Judgment in a Cri'mii'ial Case (A0245C) will be entered

after such determination
i:i The defendant must make restitution (including community restitution) to the foilowing payees in the amount iisted below.

If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
the priority order or percentage payment column eiow. However, pursuant to 18 .S. . § 3664 1), all nonfederal victims must be paid
before the United States is paid.

 

 

 

 

 

Attn: Nlai| Stop 626’£, Restitution

 

 

 

 

 

Kansae City NEO 64108

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTALS $ 1,393,858.00 $ 1,393,858.00

l:l Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

|:l The court determined that the defendant does not have the ability to pay interest and it is ordered that:
f:] the interest requirement is waived for the [:i fine l:] restitution

|:l the interest requirement for the I:i fine |:| restitution is modified as follows:

* Justice for Victirns of Traftickin Act of 201 5, Pub. L. Nc. 114-22.
** Findings for the total amount c losses are required under Chapters 109A, ilO, llOA, and 113A of Titie 13 for offenses committed on or
after September i3, 1994, but before April 23, 1996.

 

AO 2453 {Rev. 02/18) judgment in a Crirninal Case
Sheet 6 - Sciiedule of Payments

 

n ___-n ___-n nunn __ -_"_"_-_-- __ ___-mm mo n - Jlldg'fl‘lel]i_PagB 8 of 8
DEFENDANT: MiCHAEL COHEN
CASE NUMBER: 'iS-Cr-602 (WHP)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the totai criminal monetary penalties is due as foilows:

A m Lurnp sum payment of $ 800-00 due immediately, balance due

|:| not later than , or
m in accordance with |____| C, |___| D, |:} E,or |21 Fbelow;or

B l:l Payment to begin immediately (may be combined with i:l C, l:l D, or i:l F below); or

 

C l:] Payment in equal (e.g., weekly, monrhiy, quarrerly) installments of $ over a period of
(e.g., months oryeors), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D [l Payment in equal (e.g., weekly, monthly quarreriy) installments of $ over a period of
(e.g., months oryears), to commence (e.g., 30 or 60 doys) after release from imprisonment to a

term of supervision; or

E |:| Payment during the term of supervised release will commence within (e.g.1 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that tirne; or

F m Special instructions regarding the payment of criminal monetary penalties:

Tiie restitution and fine must be paid in monthly installments equal to 10% of the gross monthly income over a
period of supervision to commence 30 days after the release from custody.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment All criminal monetary penalties, except those payments ma e through the Federal Bureau of Priscns’ Inmate
Financial Respcnsibiiity Prograrn, are made to the clerk of the court

The defendant shall receive credit for all payments previously made toward any criminai monetary penalties imposed.

ij .ioint and Several

Defendant and Co-Defendant Names and Case Numbers (i'ncluo'ing defendant mmibe)j, Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:| T he defendant shall pay the cost ofprcsecution.

|:|

The defendant shall pay the following court cost(S):
Ej The defendant shall forfeit the defendant’s interest in the following property to the Um'ted States:
As per Forfeiture Order_

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5} fine
interest, (6) community restitution, (7) JVTA assessment, (S) penalties, and (9) costs, including cost cf prosecution and court costs.

 

 

